     Case 1:19-cr-00137-PWG Document 849 Filed 07/25/21 Page 1 of 8



 UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND



     UNITED STATES OF AMERICA )(
                              )(                  Criminal No. PWG-19-0137
                v.            )(                  Judge Grimm
                              )(                  Trial: January 24, 2022
          DARRAN BUTLER       )(


              MOTION FOR ORDER DIRECTING GOVERNMENT
            TO DISCLOSE BRADY EVIDENCE AND INFORMATION
                AND TO MAKE BRADY WITNESS AVAIALBLE
            AND POINTS AND AUTHORITY IN SUPPORT THEREOF

       COMES NOW the defendant, Darran Butler, by and through undersigned

counsel, and respectfully moves this Honorable Court to order the government to disclose

Brady evidence and information to him and to make a Brady witness available to him. In

support of this motion, Mr. Butler would show:

       1.      In this case, Mr. Butler is charged with, among other things, Conspiracy to

Participate in a Racketeering Enterprise (18 U.S.C. § 1962(d)) and Conspiracy to

Distribute Controlled Substances (21 U.S.C. § 846). Fourth Superseding Indictment

(ECF #62) (Indictment) at 2-17, 18-20. The Indictment alleges that, in furtherance of

these conspiracies, Mr. Butler murdered D.G. on October 21, 2018. Id. at 13, 18. The

Indictment does not allege that Mr. Butler had an accomplice for the murder of D.G., nor

does it allege that he aided and abetted anyone in committing the murder. Id. However,

it should be noted that, according to information disclosed through discovery, two

different types of shell casings were recovered from the scene of D.G.’s murder, thus

suggesting the possibility of two shooters.




                                              1
     Case 1:19-cr-00137-PWG Document 849 Filed 07/25/21 Page 2 of 8



       2.      Regarding the murder of D.G., the government has disclosed to Mr. Butler

through discovery a 302 report documenting an interview of a certain person by law-

enforcement agents and federal prosecutors. The person’s name has been redacted from

the report that has been turned over to Mr. Butler. The report states that the person told

the law-enforcement agents and federal prosecutors that, after getting arrested sometime

in 2019, he was put in a holding cell with numerous other individuals. According to the

person, one of the individuals in the cell identified himself as “Shamookey.” Others in

the cell referred to the person as “Shamookey,” too. According to the person,

Shamookey bragged about how he had killed D.G., and he provided details of the events

surrounding the murder. The person stated that Shamookey said that he was in a car with

several individuals and that “two of them got out to kill [D.G.]” The person stated that

Shamookey said he was the one who shot D.G.

       3.      On June 11, 2021, undersigned counsel Jerry Smith spoke with Assistant

United States Attorney Matthew DellaBetta about the above-referenced 302 report.

Counsel requested of Mr. DellaBetta that, pursuant to Brady, the government provide the

defense with the identity and contact information for the individual who indicated that

Shamookey had confessed to him that he killed D.G.—or alternatively, that the

government make this person available to the defense. In response, Mr. DellaBetta

informed counsel that the government’s position is that Brady does not apply to evidence

indicating that Shamookey might have killed D.G. and that the government is therefore

not obligated to comply with counsel’s request. Mr. DellaBetta explained that this is

because it appears that D.G. was killed by two shooters. Thus, even if it could be




                                             2
     Case 1:19-cr-00137-PWG Document 849 Filed 07/25/21 Page 3 of 8



established that Shamookey did kill D.G., this would not necessarily exculpate Mr. Butler

since Mr. Butler might have still been the second shooter.

       4.      Evidence that Shamookey killed D.G. falls within the ambit of Brady

because it is favorable to Mr. Butler both in terms of being material to his guilt and, if he

is convicted, in terms of being material to his punishment. Accordingly, the government

must 1) disclose to Mr. Butler all evidence and information in its possession indicating

that Shamookey killed D.G., 2) provide Mr. Butler with the name and contact

information for the person who reported that Shamookey confessed to him that he killed

D.G. (or make that person available to Mr. Butler), and 3) provide Mr. Butler with any

evidence in its possession that that would further indicate who Shamookey is.


                                       DISCUSSION

       “[T]he suppression by the prosecution of evidence favorable to an accused…

violates due process where the evidence is material to either guilt or to punishment.”

Brady v. Maryland, 373 U.S. 83, 87 (1963); Horner v. Nines, No. 20-6426, slip op. at 24

(4th Cir. April 20, 2021) (quoting Brady, 373 U.S. at 87)).


                               A. MATERIAL TO GUILT

       Here, the government is taking the position that evidence related to Shamookey

killing D.G. does not need to be turned over to the defense under Brady because it would

not be favorable to him in terms of showing his innocence. The government appears to

believe that this is the case because it is possible that the murder was committed by two

people and thus that Shamookey and Mr. Butler could have committed the murder




                                              3
     Case 1:19-cr-00137-PWG Document 849 Filed 07/25/21 Page 4 of 8



together. But just because the government can come up with some theory for the

evidence that is not necessarily inconsistent with its allegations against Mr. Butler does

not mean that the evidence is therefore not favorable to him. On this point, it should be

noted that, if D.G. was killed by two shooters, the evidence that Shamookey participated

in the murder would make it unlikely that Mr. Butler was also involved. This is so

because the government has not provided any evidence that Shamookey and Mr. Butler

worked together to kill D.G. or even provided an explanation for why they would have

done so—let alone an explanation that additionally rules out the host of other people

besides Mr. Butler who could have also been Shamookey’s accomplice. Indeed, the

government has not provided any reason for thinking that Mr. Butler and Shamookey

even know each other. Perhaps the government will now point to the evidence that it has

unrelatedly developed against Mr. Butler alone to show that he killed D.G. and argue that

this evidence establishes that, if Shamookey was involved in the murder, Mr. Butler must

therefore have necessarily been his accomplice. However, this evidence only rules out

the possibility that someone other than Mr. Butler would have been Shamookey’s

accomplice to the extent that it is regarded as conclusively proving Mr. Butler’s guilt, and

at this point, the evidence remains untested. Moreover, Mr. Butler still retains his

presumption of innocence. Accordingly, on both logical and legal grounds, the evidence

that Shamookey killed D.G., even when considered with whatever independent evidence

the government has against Mr. Butler for the murder, must still be regarded as favorable

to him for the purposes of Brady.




                                             4
     Case 1:19-cr-00137-PWG Document 849 Filed 07/25/21 Page 5 of 8



       Given the fact that, even assuming D.G. was killed by two shooters, evidence that

Shamookey was one of the shooters reduces the likelihood that Mr. Butler was involved

in the shooting, the evidence must be disclosed under Brady for this reason alone.

Beyond this, evidence that Shamookey committed the murder could also likely be

developed and/or used in conjunction with other evidence to further show that Mr. Butler

did not participate in the murder. For instance, because of the probability that any

accomplice that Shamookey might have had in committing the murder was not Mr.

Butler, evidence that Shamookey committed the murder could be developed to identify

persons other than Mr. Butler who are more plausible candidates for being Shamookey’s

accomplice than him. Also, the evidence that Shamookey committed the murder could

be used in conjunction with evidence showing a lack of association between Mr. Butler

and Shamookey to rule out the possibility that Mr. Butler participated in the murder. For

these reasons, too, evidence that Shamookey committed the murder must be made

available to Mr. Butler pursuant to Brady. Sellers v. Estelle, 651 F.2d 1074, 1076-78 (5th

Cir. 1981) (government violated Brady because, by failing to disclose certain police

reports that were only “partially exculpatory,” it denied the defendant the opportunity to

develop the information in the reports for use with his defense theory); see also Barton v.

Warden, 786 F.3d 450, 465 (6th Cir. 2015) (even “inadmissible material might

nonetheless be considered ‘material under Brady if it would “lead directly” to admissible

evidence’” (citations omitted)).

       Finally, it should be noted that evidence that Shamookey killed D.G. would also

be favorable to Mr. Butler in terms of showing his innocence if the government ends up




                                             5
     Case 1:19-cr-00137-PWG Document 849 Filed 07/25/21 Page 6 of 8



presenting evidence that is inconsistent with the fact that Shamookey committed the

crime. This would occur, for instance, if a witness testified that Mr. Butler acted alone in

committing the crime or that he had an accomplice who could be ruled out as being

Shamookey. If in connection with the murder of D.G., the government is going to

present evidence against Mr. Butler that is inconsistent with Shamookey also being

involved in the murder, this would provide an additional reason for requiring it to

disclose, pursuant to Brady, evidence that Shamookey killed D.G.


                          B. MATERIAL TO PUNISHMENT

       In addition to being favorable to Mr. Butler in a way that is material to guilt,

evidence that Shamookey killed D.G. could also be favorable to Mr. Butler in a way that

is material to punishment. Here, though Mr. Butler is alleged to have killed D.G. as an

overt act in furtherance of the racketeering and drug conspiracies he is charged with, he is

not actually charged with any stand-alone count relating specifically to the murder.

Nevertheless, a finding regarding his involvement in the murder could factor in the

Court’s determination of any sentence it might give him should he get convicted in this

case. Obviously, if evidence that Shamookey killed D.G. could be used and/or developed

to show that Mr. Butler did not kill D.G. this would support an argument that he should

not be punished as harshly as he otherwise would be. Also, even if it were to be found

that Mr. Butler did participate in the murder of D.G., evidence that Shamookey also

participated in the murder could still be used and/or developed to show that Mr. Butler’s

culpability in the murder was less than Shamookey’s and thus that Mr. Butler is therefore

entitled to some leniency because of this.



                                             6
     Case 1:19-cr-00137-PWG Document 849 Filed 07/25/21 Page 7 of 8



                                     CONCLUSION

       For the above reasons, evidence and information tending to show that Shamookey

killed D.G. is favorable to Mr. Butler for the purposes of Brady, and the government is

therefore obligated to turn over such evidence and information to the defense. As part of

such disclosure, the government must give the defense the name and contact information

for the person who reported that Shamookey confessed to him that he killed D.G. so that

the defense can interview this person about what Shamookey said and possibly subpoena

him as witness to introduce Shamookey’s confession into evidence at trial. Alternatively,

the government can make this person available to the defense. Also, the government

must disclose to the defense any additional information it has about Shamookey’s identity

so that the defense can further develop him as a suspect in the murder of D.G., better

identify persons who might have been his accomplice in committing the murder, and

better develop evidence of a lack of association between him and Mr. Butler.




                                             7
    Case 1:19-cr-00137-PWG Document 849 Filed 07/25/21 Page 8 of 8



       WHEREFORE, the defendant, Darran Butler, moves this Honorable Court to

order the government to disclose Brady evidence and information to him and to make a

Brady witness available to him.

                                          Respectfully submitted,


                                           ____/s/___________
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                                          8
